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EXH|B|T "13"

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The Berglund Group
149 S. Barrington Ave., Suite 181
Los Angeies, CA 90049
Phone 310-567~6070 Fax 310-564~0327
Keith@Berglundgroup.com

.lune 19, 2018

VlA EMA[L: Bruce@baldingerlaw.com

CERTIFIED MAIL
RETURN RECElPT REQUESTED
AND FlRST CLASS MAIL

.lesand,LLC. i“.lesand")

 

A'ITN: Kathleen B. Manafort
Re: DEMAND NOTICE
Dear Ms. Manafcrt:

Please be advised that 1 have been hired by Woodlawn, LLC. (“Lender") in respect of the
referenced loan and matters set forth herein. Ret`erence is made to that certain (i) Secured
Promissory Note dated as of August 7, 2017, as amended (the “Secured Note"), by and
between Lender and Jesand (“Borrower”), (ii) Mongage dated August 7, 2017 by and
between bender and Borrower with respect to that certain property with an address at :
123 Baxter Street, Unit SD, New York, New York (“Mortgage”) and (ii) that certain
Guaranty dated August 8, 2017, related to the secured Note given to Lender by Paul
Manafort (“Guaranty") (collectively, the “Loan Documents”). Capitaiized terms used
herein unless otherwise defined shall have the same meanings as ascribed in the
respective Loan Documents.

As you are aware, the Secured Note initially matured as of December 31, 2017 and the
maturity date was extended to March 31, 2018. As you are further aware, interest
payments due under the Secured Note have been sporadic and the parties were unable to
agree on a further extension of the Secured Note post March 31, 2018. Pursuant to the
terms of the Loan Documents, defaults have occurred, including, without limitation,
failure to make interest and principal payments when due. To date, Lender has exercised
a forbearance from further enforcement actions to which it is entitled based upon, among
other representations, promised refinancing and full payout to Lender of the amounts due
under the Loan Documents. Unfortunately, Borrower has failed to comply with the
undertakings referenced in the immediately preceding sentence,

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Consequently, in accordance with the terms of, among other documents, the loan
Documents, this letter constitutes formal continued Notice of Default and lntent to Act.
Pursuant to the terms of the Secured Note, Mortgage, Guaranty and related loan
agreements, if Borrower is unable to provide Lender with adequate assurances that the
Loan Agreement will be satisfied in full on or before June 29, 2018, Lender may, among
other remedies, commence further enforcement proceedings in respect of the Loan
Documents and related agreements together with exercising all other remedies that may
be available in respect of an Event of Default and/or matured loan. As of lune 19, 2018,
the following principal amount was due Lender $1,025,000.00, together with interest of
$18,337.39, for a total past due balance of $1,043,337.39 ("'Borrower Obligations“).
interest continues to accrue at the per diem rate set forth in the Secured Note together
with other costs and fees and late charges associated with an Event of Default, including,
without limitation legal fees incurred with respect to enforcement activities.

Un|ess satisfactory arrangements are made to effect repayment of the Borrower
Ob|igations on or before the time period specified herein, Lender reserves the right to
take any and all actions available under applicable law and/or equity including, without
limitation, institution of legal proceedings deemed necessary to enforce Lender’s rights.
in writing this letter, Lender specifically reserves any and all rights it may have under the
Loan Documents and related agreements (including the Guaranty) and applicable law
and/or equity. Nothing herein contained (or omitted) shall constitute an admission (or
waiver) of any facts or rights of Lender. Should you have any questions in respect of the
above, feel free to contact the undersigned at the referenced coordinates.

PLEASE BE GOVERNED ACCORDINGLY,

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Cc.‘ Andrea Manafort

Paul Manafort

Bruce Baldinger, Esq.

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PROOF ()F SERVICE

I am a citizen of the United States, employed in the City of Los Angeles and County of Los
Angeles, California. My business address is 149 S. Barrington Ave. Suite 181 Los Angeles, CA
90012. I am over the age of 18 years and not a party to the within action. On today’s date, I
caused to be served the following:

l) PETITION OF WOObLAWN, LLC FOR HEARING AND DETERMINATION
'I'HAT PETITIONER’S INTERST IN PROPER'I`Y SHOULD NOT BE FORFEITED
PURSUANT TO 21 USC § 853 (N)

n I enclosed the above-named documents in a sealed envelope or package addressed to the
persons at the addresses set forth below and placed the envelope for collection and mailing,
following our ordinary business practices I am readily familiar With the finn’s practice of
collection and processing correspondence for mailing in the ordinary place of business On the
same day that correspondence is placed for collection and mailing, it is deposited in the ordinary
course of business with the United States Postal Service, in a sealed envelope or package with
postage fully prepaid.

m l caused the above DOCUMENTS to be delivered via email to the addressee(s) set forth below.

ll caused the above DOCUMENTS to be served on the parties in this action by causing them to
be delivered via Federal Express Standard 0vernight Shipping to the addressee(s) set forth below.

-I caused the above DOCUMENTS to be served on the parties in this action by causing them to
be delivered via facsimile. :

By personally delivering, or causing to be delivered, a true copy thereof to the persons at the
addresses set forth below. ~

 

Clerk Andrew Weissmann

United District Court for the District of Columbia Special Counsel's Offiee

333 Constitution Avenue, N.W. 950 Pennsylvania Avenue N.W.,
Washington, D.C. 20001 Washington D.C. 20530

 

 

 

Daniel Claman`\

Money Laundering and Asset Recovery Section
1400 New York Avenue, N.W., Suite 10100
Washington D.C. 20540

 

 

I declare under penalty of perjury that the foregoing is true and correct and that this
declaration Was executed on November 28, 2018, in Los Angeles, Caiifornia,

§§(sell Miller

 

 

Proof ot Service

